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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  BRANDI BAXTER,                                  )
                                                  )
                             Plaintiff,           )
                                                  )
                      vs.                         )      No. 1:17-cv-03037-JMS-MJD
                                                  )
  MED-1 SOLUTIONS, LLC,                           )
                                                  )
                             Defendant.           )

                                           ORDER

       Plaintiff Brandi Baxter filed an Acceptance of Offer of Judgment on October 11, 2017,

advising that she has accepted Defendant Med-1 Solutions, LLC’s Offer of Judgment. [Filing No.

10; Filing No. 10-1.] The Court acknowledges Ms. Baxter’s notice. To the extent that Ms. Baxter

plans to seek attorneys’ fees and costs, and if the parties cannot agree on the amount of those

attorneys’ fees and costs, the Court ORDERS Ms. Baxter to file a Petition by November 29, 2017

with supporting documentation. The Court also ORDERS Ms. Baxter to file a Proposed Judgment

by that date. Any pending deadlines and conferences are VACATED.




                 Date: 11/13/2017




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